Case: 2:05-cv-00976-ALM-TPK Doc #: 31 Filed: 05/17/06 Page: 1 of 1 PAGEID #: 384



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION




Kevin H. McKenna,                      :

            Plaintiff,                 :

     v.                                :   Case No. 2:05-cv-0976

Nestle Purina PetCare Company,         :   JUDGE MARBLEY

            Defendant.                 :

                                    ORDER

     The parties shall, within 30 days, develop a schedule for
deposing witnesses which shall include the names of deponents,
dates for the depositions, and locations for the depositions.
With respect to additional written discovery, any party desiring
such discovery shall submit the discovery request to the other
party.    If such request exceeds the presumptive limits for
written discovery set forth in the Federal Rules of Civil
Procedure or the Court’s Local Civil Rules, the parties shall
confer in good faith about whether those limits will be waived.
     Defendant will produce, within ten days, a privilege log
concerning documents being withheld from the investigative file
concerning plaintiff’s internal complaint about sexual
harassment.    Defendant shall also provide, within ten days,
complete written responses to plaintiff’s document request and/or
interrogatories concerning plaintiff’s email account.



                              /s/ Terence P. Kemp
                              United States Magistrate Judge
